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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )          4:03CR3034-2
                                                )
                      Plaintiff,                )
                                                )
       vs.                                      )
                                                )          ORDER
JASON CHARLES YAEGER,                           )
                                                )
                      Defendant.                )


        I have received a letter from Jason C. Yaeger and I have also received a letter from
the Children’s Hospital in Omaha, Nebraska. Taken together, it appears that Mr. Yeager’s
child is on her death bed and that Mr. Yeager is seeking the opportunity to visit with his child
before her death. I will direct the Clerk’s office to file the letters as one motion. Upon
consideration of the motion,

       IT IS ORDERED that:

       (1)    The Federal Public Defender for the District of Nebraska is herewith appointed
to represent Mr. Yeager regarding the motion.

       (2)    The Federal Public Defender for the District of Nebraska shall schedule a
conference call with the undersigned, the prosecutor, Sara E. Fullerton, and the Probation
Officer who originally handled this case, Craig R. Ford, at the early convenience of counsel,
the Probation Officer, and the undersigned.

       (3)    Before the telephone conference described above, Mr. Ford shall contact the
Bureau of Prisons to determine whether the Bureau of Prisons will allow the defendant to be
released from prison for a short period of time to visit with his child.

      (4)     The Clerk of the Court shall send a copy of this memorandum and order to Mr.
Yeager at his last known address.
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      (5)    My chambers shall provide a copy of this memorandum and order, and the
defendant’s motion, to Mr. Ford and the Federal Public Defender for the District of
Nebraska.

      October 4, 2007.                BY THE COURT:

                                      s/ Richard G. Kopf
                                      United States District Judge




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